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 8
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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   IN RE CELLULAR TELEPHONE                No. 2:19-MJ-04941

13                                           GOVERNMENT’S EX PARTE APPLICATION
                                             FOR A WARRANT AUTHORIZING (1) THE
14                                           DISCLOSURE OF GPS AND CELL-SITE
                                             INFORMATION AND (2) USE OF CELL-
15                                           SITE SIMULATOR; REQUEST TO SEAL;
                                             AFFIDAVIT OF
16
                                             (UNDER SEAL)
17

18                                I.    INTRODUCTION
19        The United States of America, by and through its counsel of
20   record, the United States Attorney for the Central District of
21   California, hereby applies for a warrant requiring cellular telephone
22   service provider(s) to furnish the Drug Enforcement Administration
23   (the “Investigating Agency”) with information relating to the
24   following cellular telephones:
25             a.    (760) 992-1237, a cellular telephone issued by T-
26   Mobile or its affiliates with an IMSI of 310260079097400 and an IMEI
27   of 358853102431030 subscribed to “Kevin Wilton” at “14431 Cortez
28
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 1   Drive, Victorville, CA 92392” and believed to be used by Unidentified

 2   Male (“UM 65”) (the “Subject Telephone”).
 3        Authorization is sought to obtain prospective cell-site

 4   information, as well as the physical location of the Subject
 5   Telephone, to include E-911 Phase II data and latitude and longitude
 6   data gathered for the Subject Telephone, including Global Positioning
 7   Satellite and/or network timing information, including Sprint’s Per

 8   Call Measurement Data, Verizon’s Real Time Tool, AT&T’s Network Event

 9   Location System and T-Mobile’s True Call data, and including

10   information from such programs as Nextel Mobile Locator, Boost Mobile

11   Loopt, Sprint/Nextel Findum Wireless, which will establish the

12   approximate location of the Subject Telephone, and which information
13   is acquired in the first instance by the Carrier (“GPS information”),

14   at such intervals and times as the government may request, and the

15   furnishing of all information, facilities, and technical assistance

16   necessary to accomplish said disclosure unobtrusively, for a period

17   of 45 days.

18        Additionally, this application seeks authorization for the

19   Investigating Agency to use a cell-site simulator, commonly referred

20   to as a “Stingray,” in order to obtain dialing, routing, addressing,

21   or signaling information (but not content) from the Subject
22   Telephone, whether in use or not.
23        The application is made in connection with an investigation of

24   offenses committed by Troy WILLIAMS, aka Desmond RORERIC, aka Hector

25   Forbes aka Haneen ARRIE (“WILLIAMS”), Agustin Rafael BELTRAN

26   (“BELTRAN”), Agustin VALENZUELA JR. (“VALENZUELA JR.”), and Jose Luis

27   TEJEDA (“TEJEDA”), and others known and unknown (the “Target

28   Subjects”), specifically, violations of 21 U.S.C. §§ 846, 841(a)(1)

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 1   (conspiracy to distribute and distribution of controlled substances);

 2   and 21 U.S.C. § 843(b) (use of a communication facility to facilitate

 3   a narcotics trafficking offense) (the “Target Offenses”), and is

 4   based upon the attached agent affidavit.        There is probable cause to

 5   believe that federal crimes are being committed and that the

 6   information likely to be received concerning the approximate location

 7   of the Subject Telephone, currently within, or being monitored or
 8   investigated within, the Central District of California, will

 9   constitute or yield evidence of those crimes.

10            II.   CELL SITE AND GPS INFORMATION FROM THE CARRIERS

11        The information sought by this application includes information

12   about the location (physical address) of the “cell-sites” linked to

13   the Subject Telephone at call origination (for outbound calling),
14   call termination (for incoming calls), and, if reasonably available,

15   during the progress of a call.      This information, which is acquired

16   in the first instance by the Carrier, includes any information, apart

17   from the content of any communication, that is reasonably available

18   to the Carrier and that is requested by the Investigating Agency,

19   concerning the cell-sites/sectors receiving and transmitting signals

20   to and from the Subject Telephone whether or not a call is in
21   progress.   This prospective information is sought based on 18 U.S.C.

22   § 2701 et seq. (the “Stored Communications Act”).         The Stored

23   Communications Act provides:

24
          A governmental entity may require a provider of electronic
25        communication service...to disclose a record or other
          information pertaining to a subscriber to or customer of
26

27

28

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 1        such service (not including the contents of communications)
          only1 when the governmental entity --
 2
               (A)   obtains a warrant issued using the procedures
 3                   described in the Federal Rules of Criminal
                     Procedure...by a court of competent
 4                   jurisdiction[.]

 5   18 U.S.C. § 2703(c)(1); see also Carpenter v. United States, ___

 6   S. Ct. ___, 2018 WL 3073916 (June 22, 2018) (holding that a warrant

 7   is required to obtain seven or more days’ worth of historical cell-

 8   site information).2

 9        Prospective cell-site information is also sought based on the

10   authority of 18 U.S.C. § 3121 et seq. (the “Pen Register Statute”).3

11
          1 This section also provides other methods to compel disclosure,
12
     including via subpoena or court order. However, the government in
13   this case is proceeding under the highest threshold, that is,
     obtaining a warrant as described in § 2703(c)(1)(A).
14        2 The definition of terms in the Stored Communications Act makes
     clear that the “record or other information” that a court may order a
15   provider to disclose to the government under Section 2703(c)(1)(A)
     includes both cell site and other location information. First, the
16   Stored Communications Act expressly adopts the definition of
     statutory terms set forth in 18 U.S.C. § 2510. See 18 U.S.C. § 2711
17   (“As used in this chapter. . . (1) the terms defined in section 2510
     of this title have, respectively, the definitions given such terms in
18   that section”). Thus, the term “provider of electronic communication
     service” used in Section 2703(c) covers cellular telephone service
19   providers, because 18 U.S.C. § 2510(15) defines “electronic
     communications service” as “any service which provides to users
20   thereof the ability to send or receive wire or electronic
     communications.” 18 U.S.C. § 2510(15). Further, cell site and other
21   location information is “a record or other information pertaining to
     a subscriber to or customer of” an electronic communications service
22   – another term used in Section 2703(c) – because cellular telephone
     service providers receive and store the information, if sometimes
23   only momentarily, before forwarding it to law enforcement officials.
     See In Re: Application of the United States for an Order for
24   Prospective Cell Site Location Information on a Certain Cellular
     Telephone, 460 F. Supp. 2d 448, 457-60 (S.D.N.Y. 2006). Finally,
25   this Court is a “court of competent jurisdiction” because it is a
     “district court of the United States (including a magistrate judge of
26   such a court)... that...has jurisdiction over the offense being
     investigated.” 18 U.S.C. § 2711(3)(A)(i).
27
          3 18 U.S.C. § 3127(3) defines “pen register” as “a device or

28   process which records or decodes dialing, routing, addressing, or

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 1   The government therefore also complies with the provisions of that

 2   statute, including by providing the required certification by the

 3   attorney for the government at the end of this application.           Pursuant

 4   to the Pen Register Statute, upon an application made under 18 U.S.C.

 5   § 3122(a)(1) a court “shall enter an ex parte order authorizing the

 6   installation and use of a pen register or trap and trace device

 7   anywhere within the United States, if the court finds that the

 8   attorney for the Government has certified to the court that the

 9   information likely to be obtained by such installation and use is

10   relevant to an ongoing criminal investigation.”         18 U.S.C.

11   § 3123(a)(1).4

12        Cellular telephone companies routinely create and maintain, in

13   the regular course of their business, records of information

14   concerning their customers’ usage.       These records typically include

15   for each communication a customer makes or receives (1) the date and

16   time of the communication; (2) the telephone numbers involved;

17   (3) the cell tower to which the customer connected at the beginning

18   of the communication; (4) the cell tower to which the customer was

19   connected at the end of the communication; and (5) the duration of

20   the communication.    The records may also, but do not always, specify

21   a particular sector of a cell tower used to transmit a communication.

22
     signaling information transmitted by an instrument or facility from
23   which a wire or electronic communication is transmitted, provided,
     however, that such information shall not include the contents of any
24   communication.” A “trap and trace” device is similarly defined for
     any device or process which captures incoming data. See 18 U.S.C.
25   § 3127(4).
26        4 While 47 U.S.C. § 1002, which is part of the Communications
     Assistance for Law Enforcement Act of 1994 (“CALEA”), would preclude
27   seeking physical location information based on the Pen Register
     Statute alone, the Stored Communications Act provides the requisite
28   additional authority for this Court to authorize the production by
     the Carrier of cell-site information to the government.
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 1   Cell-site information is useful to law enforcement because of the

 2   limited information it provides about the general location of a cell

 3   phone when a communication is made.

 4        This application also seeks GPS information for the Subject
 5   Telephone, which is sought based on 18 U.S.C. § 2703(c)(1)(A) and
 6   Federal Rule of Criminal Procedure 41.       As discussed above, data that

 7   provides information about the location of a customer’s phone falls

 8   within 18 U.S.C. § 2703(c)’s definition of “a record or other

 9   information pertaining to a subscriber to or customer of [an

10   electronic communication service].”       Thus, the United States may

11   obtain a warrant requiring a cell phone company to disclose GPS

12   information “using the procedures described in the Federal Rules of

13   Criminal Procedure,” that is, Federal Rule of Criminal Procedure 41,

14   as is contemplated by this application and order.

15        Some, but not all, cellular telephone service providers have the

16   technical means to obtain GPS information.        GPS information is not

17   generated specifically for law enforcement, but is the product of

18   United States Federal Communications Commission requirements that

19   cellular telephone service providers maintain and access location

20   information for emergency responders.       To obtain GPS information, a

21   “ping” (electronic signal) is sent to the cellular telephone, which

22   unobtrusively activates the GPS chip in the telephone.          This

23   information is not provided in a streaming fashion regardless of the

24   cellular telephone activity, but instead is sent only in response to

25   specific law-enforcement agency requests.        Location data through GPS

26   information can be delivered as accurately as within three meters;

27   however, if the cellular telephone is in motion, such as while in a

28   moving vehicle, the error range in meters may be greater, or the

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 1   cellular telephone service provider may simply provide cell-site

 2   information.      In addition, the cellular telephone must be powered on

 3   and, usually, not in the middle of a telephone call, for GPS

 4   information to be obtained.      Moreover, if the cellular telephone is

 5   inside a building, or is in some other way blocked from the

 6   satellite, GPS information may not be obtainable.         In such cases, the

 7   service provider will often provide law enforcement with cell-site

 8   information instead.

 9                              III. CELL-SITE SIMULATOR

10          This application also seeks a warrant authorizing the

11   Investigating Agency to use a cell-site simulator, commonly referred

12   to as a “Stingray,” to obtain dialing, routing, addressing, or

13   signaling information from the Subject Telephone, whether in use or
14   not.       This device simulates a cell site, and by combination of

15   surveillance and action as a mobile cell site, allows the

16   Investigating Agency to locate the Subject Telephone more
17   conclusively.      This Court has authority to issue the requested

18   warrant under Fed. R. Crim. P. 41(b)(1) and (b)(2) because, as

19   explained in the agent affidavit, the Subject Telephone are currently
20   believed to be located within this District.5        Because collecting the

21   information authorized by this warrant may fall within the statutory

22   definitions of a “pen register” or a “trap and trace device,” see 18

23   U.S.C. § 3127(3) & (4), the application and proposed warrant are

24   designed to comply with the requirements of the Pen Register Statute

25   as well as Rule 41.      See 18 U.S.C. §§ 3121-3127.     The warrant

26

27
            5
            Pursuant to Rule 41(b)(2), law enforcement may use the cell-
28   site simulator outside this District provided the Subject Telephone
     is within the District when the warrant is issued.
                                      7
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 1   therefore includes all the information required to be included in a

 2   pen register order.    See 18 U.S.C. § 3123(b)(1).

 3                           IV.   OTHER REQUESTED ORDERS

 4           Additionally, this application also seeks authorization under 18

 5   U.S.C. § 3103a(b), for reasonable cause shown, to delay any

 6   notification the government is required to give regarding the

 7   requested warrant to the subscriber(s) and user(s) of the Subject
 8   Telephone for a period of 30 days from the date that the disclosure
 9   ends.    18 U.S.C. § 3103a(b) states that any notice required following

10   the issuance of a warrant may be delayed if, inter alia, the court

11   finds reasonable cause to believe that providing immediate

12   notification of the execution of the warrant may have an adverse

13   result.    An adverse result is defined in 18 U.S.C. § 2705(a)(2) to

14   include endangering the life or physical safety of a person, flight

15   from prosecution, destruction of or tampering with evidence,

16   intimidation of potential witnesses, or otherwise seriously

17   jeopardizing an investigation or unduly delaying a trial.          Moreover,

18   the Advisory Committee Notes for Fed. R. Crim. P. 41(f)(3) (2006

19   Amendments) state that delay of notice may be appropriate where “the

20   officer establishes that the investigation is ongoing and that

21   disclosure of the warrant will compromise that investigation.”           The

22   attached agent affidavit provides reasonable cause to believe that

23   immediate notification of the execution of the warrant may have an

24   adverse result.    The proposed warrant both provides for the giving of

25   such notice within 30 days after the date that the disclosure ends

26   and prohibits, as part of the receipt of the requested information,

27   the seizure of any tangible property or any other prohibited wire or

28   electronic information as stated in 18 U.S.C. § 3103a(b)(2).           As

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 1   discussed in the attached agent affidavit, immediate notification of

 2   this warrant to the user(s) of the Subject Telephone may have an
 3   adverse result.

 4        Similarly, pursuant to 18 U.S.C. § 2705(b) and 18 U.S.C.

 5   § 3123(d)(2), this application requests that the Court enter an order

 6   commanding the Carrier not to notify any person, including the

 7   subscriber(s) of the Subject Telephone, of the existence of the
 8   warrant until further order of the Court, until written notice is

 9   provided by the United States Attorney’s Office that nondisclosure is

10   no longer required, or until one year from the date the Carrier

11   complies with the warrant or such later date as may be set by the

12   Court upon application for an extension by the United States, for the

13   reasons outlined in the attached agent affidavit.

14        This application also seeks an order that: (1) authorizes the

15   disclosure of the requested information whether the Subject Telephone
16   is located within this District, outside of the District, or both,

17   pursuant to 18 U.S.C. § 2703(c)(1)(A) and Rule 41(b), and, for good

18   cause shown, at any time of the day or night pursuant to Rule of

19   Criminal Procedure 41; (2) authorizes the disclosure of not only

20   information with respect to the Subject Telephone, but also with
21   respect to any changed telephone number(s) assigned to an instrument

22   bearing the same ESN, IMSI, or IMEI (hereinafter “unique identifying

23   number”) as the Subject Telephone, or any changed unique identifying
24   number subsequently assigned to the same telephone number as the

25   Subject Telephone, or any additional changed telephone number(s)
26   and/or unique identifying number, whether the changes occur

27   consecutively or simultaneously, listed to the same wireless

28   telephone account number as the Subject Telephone within the period
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 1   of disclosure authorized by the warrant; and (3) orders the

 2   Investigating Agency to reimburse the applicable cellular telephone

 3   service provider for its reasonable expenses directly incurred in

 4   providing the requested information and any related technical

 5   assistance.

 6         Finally, this application requests that it, the proposed warrant

 7   that has been concurrently lodged, and the return to the warrant be

 8   sealed by the Court until such time as the Court directs otherwise.

 9   Allowing disclosure to the public at large would likely jeopardize

10   the ongoing investigation for the reasons outlined in the attached

11   agent affidavit.

12
     Dated: November 20, 2019            Respectfully submitted,
13
                                         NICOLA T. HANNA
14                                       United States Attorney

15                                       BRANDON D. FOX
                                         Assistant United States Attorney
16                                       Chief, Criminal Division

17
                                          /s/ Michael G. Freedman
18                                       MICHAEL G. FREEDMAN
                                         Assistant United States Attorney
19
                                         Attorneys for Applicant
20                                       UNITED STATES OF AMERICA

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 1                                    CERTIFICATION

 2         In support of this application, and pursuant to 18 U.S.C.

 3   § 3122, I state that I, Michael G. Freedman, am an “attorney for the

 4   Government” as defined in Rule 1(b)(1) of the Federal Rules of

 5   Criminal Procedure.     I certify that the information likely to be

 6   obtained from the requested warrant is relevant to an ongoing

 7   criminal investigation being conducted by the Investigating Agency of

 8   the Target Subjects for violations of the Target Offenses.

 9         I declare under penalty of perjury under the laws of the United

10   States of America that the foregoing paragraph is true and correct.

11

12

13
              November 20, 2019                      /s/ Michael G. Freedman
14
       DATE                                MICHAEL G. FREEDMAN
15                                         Assistant United States Attorney
                                           INMLR Section
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 1                            AFFIDAVIT OF ETHAN SUNTRUP

 2         I, Ethan Suntrup being duly sworn, declare as follows:

 3                                 I.    INTRODUCTION

 4         1.   I am a United States Drug Enforcement Administration (DEA)
 5   Special Agent (SA) and an investigative or law enforcement officer of
 6
     the United States within the meaning of Section 2510(7) of Title 18
 7
     of the United States Code.      I am empowered to conduct investigations
 8
     of and to make arrests for federal felony offenses, including those
 9
     enumerated in 18 U.S.C. § 2516.
10

11         2.   I have been employed as a Special Agent with the Drug

12   Enforcement Administration since January 2018, currently assigned to

13   the Los Angeles Field Division (LAFD), Enforcement Group 2.            In the

14   course of my employment with the DEA, I have received approximately

15   20 weeks of specialized training at the DEA Academy in Quantico,

16   Virginia involving use, possession, packaging, manufacturing, sales,

17   concealment, and transportation of various controlled substances,

18   money laundering techniques, and conspiracy investigations.            I have

19   also participated in narcotics investigations.          I have debriefed

20   defendants and witnesses who had personal knowledge of narcotics

21   trafficking organizations.      Additionally, I have participated in many

22   aspects of narcotics investigations including conducting physical

23   surveillance, writing and executing search warrants, directing

24   confidential informants, and conducting arrests. Additionally, I have

25   attended specialized training in electronic communications

26   exploitation and clandestine narcotics laboratories.          Based on my

27   training and experience, I am familiar with narcotics traffickers’

28   methods of operation including the distribution, storage, and
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 1   transportation of narcotics and the collection of money proceeds of

 2   narcotics trafficking.      I am also familiar with methods employed by

 3   large narcotics organizations to thwart detection by law enforcement,

 4   including the use of debit calling cards, public telephones, cellular

 5   telephone technology, counter surveillance, false or fictitious

 6   identities, and encoded communications.        During my employment with

 7   the DEA, I have participated in narcotics investigations for

 8   violations of 21 U.S.C. § 841(a)(1) as both a case agent and in a

 9   supportive role.     I have assisted in the arrests of multiple drug

10   traffickers.    I have participated in several static and mobile

11   surveillance activities across Southern California and have assisted

12   in the execution of multiple search warrants.         In addition, I have

13   conducted investigations regarding the unlawful importation,

14   possession and distribution of controlled substances.

15         3.   Based on my training and experience as a DEA SA, I have

16   become familiar with the criminal activities of individuals involved

17   in drug trafficking organizations, including drug manufacturing, drug

18   distribution, and money laundering.        I have also become familiar with

19   the methods used by such individuals to avoid detection by law

20   enforcement, including the use of: multiple cellular telephones,

21   including those subscribed to in the names of other persons; prepaid

22   cellular telephones; counter-surveillance techniques; coded and

23   ambiguous language; multiple vehicles; vehicles equipped with

24   concealed compartments; and false identities.         In addition, through

25   my investigations, my training and experience, and my discussions

26   with other law enforcement personnel, I have become familiar with the

27   tactics and methods used by narcotics traffickers to smuggle and

28   safeguard controlled substances, to distribute controlled substances,

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 1   to collect and launder the proceeds from the sale of controlled

 2   substances, and the clandestine manufacturing of narcotics.            These

 3   tactics and methods include using cellular telephones, using cloned

 4   communication devices, using counter-surveillance techniques, using

 5   false or fictitious identities, and using coded communications and

 6   coded words in conversations.       Based on my training and experience, I

 7   have also learned that cell phones used by narcotics traffickers

 8   often have a high call volume from a variety of phone numbers.

 9         4.   Also, during my time assigned to the Los Angeles Field

10   Division, I have worked on cases involving conspiracies to import

11   controlled substances, conspiracies to distribute controlled

12   substances, and money laundering.         Through these investigations, I

13   have become familiar with the methods used by transnational criminal

14   organizations to import controlled substances to the United States,

15   methods used to distribute those controlled substances throughout the

16   United States, and methods of laundering proceeds from the

17   distribution of those controlled substances.

18                             II.   PURPOSE OF AFFIDAVIT

19         5.   This affidavit is made in support of an application for a

20   warrant authorizing the disclosure of cell-site and GPS information,

21   as well as the use of a cell-site simulator, also known as a

22   “Stingray,” as defined or discussed within the application, at such

23   intervals and times as the government may request, and the furnishing

24   of all information, facilities, and technical assistance necessary to

25   accomplish said disclosure unobtrusively, which disclosure will

26   establish the approximate location of the following cellular

27   telephone for a period of 45 days:

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 1           6.   (760) 992-1237, a cellular telephone issued by T-Mobile or

 2   its affiliates with an IMSI of 310260079097400 and an IMEI of

 3   358853102431030 subscribed to “Kevin Wilton” at “14431 Cortez Drive,

 4   Victorville, CA 92392” and believed to be used by Unidentified Male

 5   (“UM 65”) (the “Subject Telephone”).
 6           7.   I also seek authorization under 18 U.S.C. § 3103a(b), for

 7   reasonable cause shown below, to delay notification of the proposed

 8   warrant for a period of 30 days from the date that the disclosure

 9   ends.

10           8.   As described more fully below, I respectfully submit there

11   is probable cause to believe that cell-site information, GPS

12   information, and information from a cell-site simulator likely to be

13   received concerning the approximate location of the Subject
14   Telephone, will constitute or yield evidence of violations of 21
15   U.S.C. §§ 846, 841(a)(1) (conspiracy to distribute and distribution

16   of controlled substances); and 21 U.S.C. § 843(b) (use of a

17   communication facility to facilitate a narcotics trafficking offense)

18   by Troy WILLIAMS, aka Desmond RORERIC, aka Hector FORBES aka Haneen

19   ARRIE (“WILLIAMS”), Agustin Rafael BELTRAN (“BELTRAN”), Agustin

20   VALENZUELA JR. (“VALENZUELA JR.”), Jose Luis TEJEDA (“TEJEDA”), UM 65

21   and others known and unknown (the “Target Subjects”).

22           9.   The facts set forth in this affidavit are based upon my

23   personal observations, my training and experience, and information

24   obtained from various law enforcement personnel and witnesses.            This

25   affidavit is intended to show merely that there is sufficient

26   probable cause for the requested warrant and does not purport to set

27   forth all of my knowledge of, or investigation into, this matter.

28   Unless specifically indicated otherwise, all conversations and

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 1   statements described in this affidavit are related in substance and

 2   in part only.

 3                          III. SUMMARY OF PROBABLE CAUSE

 4         10.   DEA agents in Los Angeles have been conducting an

 5   investigation into TEJEDA, a narcotics trafficker who distributes

 6   narcotics in the Central District of California to UM 65 and others,

 7   and also mails narcotics to other states. Pursuant to an order issued

 8   by the Honorable Dolly M. Gee, United States District Judge, in CR

 9   Misc. 19-CM-00217, 19-CM-00217 (A), and 19-CM-00217 (B), Agents were

10   intercepting Subject Telephones #7, #24 and #30, each used by TEJEDA,

11   and have intercepted narcotics-related communications with several

12   identified and unidentified individuals. Particularly, agents have

13   intercepted several narcotics related phone calls between TEJEDA,

14   using his previously utilized Subject Telephone #7, and UM 65, using

15   his previously utilized telephone number 909-454-0330. Pursuant to an

16   order issued by the Honorable Dolly M. Gee, United States District

17   Judge, in CR Misc. 19-CM-00217 (C), agents have recently began

18   intercepting TEJEDA’s new telephone, Subject Telephone #32, and have

19   intercepted communications between TEJEDA and UM 65, who is now using

20   the Subject Telephone.
21                         IV.   STATEMENT OF PROBABLE CAUSE

22         11.   Based on my knowledge of and participation in the DEA

23   investigations described below, my conversations with other agents

24   and law enforcement officials, my review of reports and records, and

25   my training and experience, I know the following facts:

26

27

28

                                           5
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 1               A.   The Identification of the Subject Telephone, Utilized
                      by UM 65
 2
           12.    As previously mentioned, pursuant to the order in CR Misc.
 3
     19-CM-00217, agents have intercepted several narcotics related
 4
     telephone conversations between TEJEDA, using his Subject Telephone
 5
     #7, and UM 65, using telephone 909-454-0330. Pursuant to the order in
 6
     CR Misc. 19-CM-00217 (C), agents are now intercepting TEJEDA’s new
 7
     telephone, Subject Telephone #32, and on November 10, 2019, TEJEDA,
 8
     using Subject Telephone #32, made a call to the Subject Telephone at
 9
     approximately 3:02 PM. A voice comparison was conducted between UM 65
10
     and the user of the Subject Telephone and it was determined that UM
11
     65 is the user of the Subject Telephone.
12
           13.    It is also worth noting that UM 65’s previously utilized
13
     telephone, 909-454-0330, was subscribed to the address 14412 Cortez
14
     Drive, Victorville, CA. The Subject Telephone is subscribed to the
15
     address 14431 Cortez Drive, Victorville, CA. A check of open source
16
     databases for both of the aforementioned addresses yields no results,
17
     leading agents to believe that they are fictitious addresses. Based
18
     on my training experience, knowledge of this investigation, the voice
19
     comparison between UM 65 and the user of the Subject Telephone, and
20
     the similarities in fictitious subscriber addresses of 909-454-0330
21
     and the Subject Telephone, I believe that UM 65 is now utilizing the
22
     Subject Telephone.
23
                 B.   Interceptions of TEJEDA and UM 65 discussing narcotics
24                    transactions

25         14.    Below are summaries of several calls between TEJEDA and UM

26   65, using his previously utilized telephone number 909-454-0330,

27   based on transcripts and summaries of calls that I have reviewed.

28   These calls were intercepted pursuant to CR Misc. 19-CM-00217

                                           6
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 1   authorizing the wire and electronic intercepts of TEJEDA’s previously

 2   utilized Subject Telephone #7.       The calls are primarily in English,

 3   with some Spanish spoken, and were translated, interpreted, and

 4   summarized or transcribed by wire room monitors and DEA agents in Los

 5   Angeles.    The following summaries of calls are not verbatim.          All

 6   times are Pacific unless otherwise indicated.

 7                                (1)   February 9, 2019

 8         15.   UM 65 texts TEJEDA “Let’s go to the office”

 9         16.   Based on my training, experience, and knowledge of this

10   investigation, I believe the following regarding this text message:

11   These traffickers use the code word “office” to refer to a place

12   where narcotics transactions are conducted. When UM 65 suggests that

13   UM 65 and TEJEDA go to the “office”, he is suggesting that they meet

14   at a predetermined location to conduct a narcotics transaction.

15                                (2)   February 11, 2019

16         17.   TEJEDA asks UM 65 if “Sperm” is going to need the

17   “pretendos” and the “A”. UM 65 tells TEJEDA to bring the “pretendos”

18   and a little “A”. TEJEDA tells UM 65 that he will call “him” and see

19   if “he” could “come to their side”.

20         18.   Based on my training and experience and knowledge of this

21   investigation, I believe the following regarding this interception:

22   These traffickers use the code word “A” to refer to cocaine and the

23   code word “pretendos” to refer to marijuana. TEJEDA is asking UM 65

24   if “Sperm”, a customer, is in need of cocaine and marijuana. UM 65

25   replies by telling TEJEDA to bring the marijuana and a small amount

26   of cocaine. When TEJEDA tells UM 65 that TEJEDA will call “him” and

27   see if he can “come to their side”, he is explaining to UM 65 that

28

                                           7
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 1   TEJEDA will check with his source of supply to see if TEJEDA can

 2   obtain the narcotics that UM 65 is requesting.

 3           V.    TECHNICAL BACKGROUND REGARDING CELL-SITE SIMULATORS

 4         19.    Based on my training an experience and my conversations

 5   with other agents and investigators, I understand the following

 6   regarding cell-site simulators:

 7                a.     Cell-site simulators function by transmitting as a

 8   cell tower.       In response to the signals emitted by the simulator,

 9   cellular devices in the proximity of the device identify the

10   simulator as the most attractive cell tower in the area and thus

11   transmit signals to the simulator that identify the device in the

12   same way that they would with a networked tower.

13                b.     A cell-site simulator receives and uses an industry

14   standard unique identifying number (e.g., Electronic Serial Number

15   (ESN), Mobile Equipment Identifier (MEID), International Mobile

16   Subscriber Identity (IMSI), International Mobile Equipment Identity

17   (IMEI), Mobile Station Identity (MSID), Mobile Directory Number (MDN)

18   or the Universal Fleet Member Identity (UFMI)) that is assigned by a

19   device manufacturer or cellular network provider.          When used to

20   locate a known cellular device, a cell-site simulator initially

21   receives the unique identifying number from multiple devices in the

22   vicinity of the simulator.      Once the cell-site simulator identifies

23   the specific cellular device for which it is looking, it will obtain

24   the signaling information relating only to that particular phone.

25                c.     By transmitting as a cell tower, cell-site simulators

26   acquire the unique identifying information from cellular devices.

27   This identifying information is limited, however.          Cell-site

28   simulators provide only the relative signal strength and general

                                           8
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 1   direction of a subject cellular telephone; they do not function as a

 2   GPS locator, as they do not obtain or download any location

 3   information from the device or its applications.          Moreover, cell-site

 4   simulators do not collect the contents of any communication.            This

 5   includes any data contained on the phone itself:          the simulator does

 6   not remotely capture emails, texts, contact lists, images, or any

 7   other data from the phone.      In addition, cell-site simulators do not

 8   provide subscriber account information (for example, an account

 9   holder’s name, address, or telephone number).

10
                  VI.   INTENDED USE OF THE CELL-SITE SIMULATOR AND
11                              DELETION OF NON-TARGET DATA

12         20.   Investigators intend to use the cell-site simulator to send

13   signals to the Subject Telephone that will cause the Subject
14   Telephone, and non-target cellular phones on the same provider
15   network in close physical proximity, to emit unique identifying

16   information, which the cell-site simulator will collect.

17   Investigators will then use the information collected by the cell-

18   site simulator to determine the physical location of the Subject
19   Telephone.    Investigators plan to use the cell-site simulator to
20   determine unique identifiers at multiple locations and/or multiple

21   times at the same location.

22         21.    Although the cell-site simulator will collect the unique

23   identifiers not only of the Subject Telephone, but also identifiers
24   belonging to nearby non-target cellular telephones, these latter

25   identifiers will not be used by law enforcement for investigative

26   purposes, just as the extraneous incoming and outgoing telephone

27   numbers necessarily recorded by conventional pen registers and trap-

28   and-trace devices are not used for affirmative investigative

                                           9
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 1   purposes.   Absent further order of the court, law enforcement will

 2   make no investigative use of information concerning non-targeted

 3   cellular devices other than distinguishing the Subject Telephone from
 4   all other devices.     Once law enforcement has located the Subject
 5   Telephone, it will delete all information not associated with the
 6   Subject Telephone.
 7         22.   The cell-site simulator may interrupt cellular service of

 8   cellular devices within its immediate vicinity.          Any service

 9   disruption will be brief and temporary, and all operations will

10   attempt to limit the interference with cellular devices.

11                  VII. GROUNDS FOR SEALING AND DELAYING NOTICE

12         23.   Based on my training and experience and my investigation of

13   this matter, I believe that reasonable cause exists to seal this

14   application and warrant, as well as the return to the warrant.            I

15   also believe that reasonable cause exists to delay the service of the

16   warrant by the Investigating Agency as normally required for a period

17   of 30 days beyond the end of the disclosure period pursuant to 18

18   U.S.C. § 3103a(b) and, pursuant to 18 U.S.C. § 2705(b), to enter an

19   order commanding the Carrier not to notify any person, including the

20   subscriber(s) of the Subject Telephone, of the existence of the
21   warrant until further order of the Court, until written notice is

22   provided by the United States Attorney’s Office that nondisclosure is

23   no longer required, or until one year from the date the Carrier

24   complies with the warrant or such later date as may be set by the

25   Court upon application for an extension by the United States.            There

26   is reason to believe that such notification will result in:

27   (1) flight from prosecution; (2) destruction of or tampering with

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                                          10
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 1   evidence; (3) intimidation of potential witnesses; or (4) otherwise

 2   seriously jeopardizing the investigation.

 3         24.   Furthermore, there is good cause for the warrant to be

 4   issued such that the information may be provided to law enforcement

 5   at any time of the day or night because in my training and

 6   experience, and knowledge of this investigation, the subjects of the

 7   investigation do not confine their activities to daylight hours, and

 8   it is often even more difficult to conduct surveillance at night.

 9                               VIII.         CONCLUSION

10         25.   For all of the above reasons, there is probable cause to

11   believe that prospective cell-site information, GPS information, as

12   well as information from a cell-site simulator, likely to be received

13   concerning the approximate location of the Subject Telephone,
14   currently within, or being monitored or investigated within, the

15   Central District of California, will constitute or yield evidence of

16   violations of the Target Offenses being committed by the Target

17   Subjects.

18

19
                                               Ethan Suntrup
20
                                               Special Agent, DRUG
21                                             ENFORCEMENT ADMINISTRATION

22   Subscribed to and sworn before me
     this 20th day of November, 2019.
23

24

25   HONORABLE FREDERICK F. MUMM
     UNITED STATES MAGISTRATE JUDGE
26

27

28

                                          11
